     Case 3:19-cv-00365 Document 15 Filed on 01/30/20 in TXSD Page 1 of 58



                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF TEXAS
                          GALVESTON DIVISION


STATE OF TEXAS;
TEXAS DEPARTMENT OF
FAMILY AND PROTECTIVE
SERVICES; ARCHDIOCESE OF
                                         Civil Action No. 3:19-cv-00365
GALVESTON-HOUSTON,


             Plaintiffs,

v.

ALEX AZAR, Secretary of the United
States Department of Health and Human
Services; UNITED STATES
DEPARTMENT OF HEALTH AND
HUMAN SERVICES; the UNITED
STATES OF AMERICA,

             Defendants.


                           PLAINTIFFS’ JOINT MOTION FOR
                            PARTIAL SUMMARY JUDGMENT
       Case 3:19-cv-00365 Document 15 Filed on 01/30/20 in TXSD Page 2 of 58



                                                    TABLE OF CONTENTS

                                                                                                                                               Page
TABLE OF AUTHORITIES ............................................................................................................. v
INTRODUCTION ............................................................................................................................... 1
STATEMENT OF THE NATURE AND STAGE OF THE
PROCEEDINGS .................................................................................................................................. 3
STATEMENT OF THE ISSUES ...................................................................................................... 3
STATEMENT OF UNDISPUTED MATERIAL FACTS........................................................... 4
     A. The Texas foster care system .................................................................................................. 4
     B. The Archdiocese would like to support the provision of foster
        care services to children in need ............................................................................................. 6
     C. Section 75.300 was flawed from the start .............................................................................. 8
     D. HHS grants South Carolina a waiver of Section 75.300’s
        religious non-discrimination provision .................................................................................. 9
     E. A federal court in Michigan enjoins Section 75.300 ..........................................................11
     F. HHS concedes that Section 75.300 likely violates RFRA and
        cannot survive strict scrutiny .................................................................................................12
     G. Section 75.300 prevents the Archdiocese from providing foster
        care services in partnership with Texas. ..............................................................................13
SUMMARY OF THE ARGUMENT ..............................................................................................14
ARGUMENT .......................................................................................................................................15
I. Section 75.300 violates the Free Exercise Clause (Count VII) .................................................15
     A. Section 75.300 is not generally applicable ...........................................................................16
           1. HHS has permitted individualized exemptions to Section
              75.300 ..................................................................................................................................16
           2. HHS has permitted categorical exemptions to Section
              75.300 ..................................................................................................................................17
     B. Section 75.300 is not neutral..................................................................................................19
     C. Section 75.300 cannot survive strict scrutiny......................................................................20
           1. HHS has no compelling governmental interest in applying
              Section 75.300 to the Archdiocese or other religious bodies
              that help foster children ...................................................................................................21
           2. Section 75.300 does not further HHS’s interests or help
              more children find foster families ..................................................................................22


                                                                           ii
        Case 3:19-cv-00365 Document 15 Filed on 01/30/20 in TXSD Page 3 of 58



           3. Applying Section 75.300 to the Archdiocese or other
              religious bodies is not the least restrictive means of
              advancing HHS’s purported interests ............................................................................23
II. Section 75.300 violates the Religious Freedom Restoration Act
(Count VI) .............................................................................................................................................24
     A. Section 75.300 imposes a substantial burden on the
        Archdiocese’s religious exercise ............................................................................................25
     B. Section 75.300 neither advances a compelling interest nor
        pursues one through the least restrictive means ................................................................29
III. Section 75.300 violates the Administrative Procedure Act ....................................................29
     A. The Housekeeping Statute does not authorize Section 75.300
        (Count III) ................................................................................................................................30
           1. The Housekeeping Statute does not authorize substantive
              rules like Section 75.300 ...................................................................................................31
           2. The Housekeeping Statute does not authorize HHS to
              address major questions ...................................................................................................33
     B. Section 75.300 Violates Title IV-E (Count II) ...................................................................34
           1. The Secretary cannot impose additional funding requirements
              ..............................................................................................................................................35
           2. The Secretary cannot alter the non-discrimination
              requirements Congress chose .........................................................................................37
     C. Section 75.300 is arbitrary and capricious (Counts IV-V) ................................................40
           1. HHS’s reasoning was internally inconsistent (Count IV)........................................... 41
           2. HHS failed to account for important interests (Count V) ......................................... 42
     IV. Injunctive relief is appropriate ..............................................................................................45
CONCLUSION ...................................................................................................................................46
CERTIFICATE OF CONFERENCE ............................................................................................49
CERTIFICATE OF SERVICE ........................................................................................................50
ADDENDUM
     Attachment A ......................................................................................................................... Add. 1
     Attachment B ......................................................................................................................... Add. 5
     Attachment C .......................................................................................................................Add. 13
           Exhibit A.........................................................................................................................Add. 17
           Exhibit B .........................................................................................................................Add. 24


                                                                            iii
Case 3:19-cv-00365 Document 15 Filed on 01/30/20 in TXSD Page 4 of 58



 Exhibit C .........................................................................................................................Add. 27
 Exhibit D ........................................................................................................................Add. 30
 Exhibit E ......................................................................................................................... Add. 34
 Exhibit F ......................................................................................................................... Add. 38
 Exhibit G ........................................................................................................................Add. 52
 Exhibit H ........................................................................................................................Add. 57
 Exhibit I ..........................................................................................................................Add. 60
 Exhibit J ..........................................................................................................................Add. 63
 Exhibit K ........................................................................................................................Add. 68




                                                               iv
       Case 3:19-cv-00365 Document 15 Filed on 01/30/20 in TXSD Page 5 of 58



                                               TABLE OF AUTHORITIES

                                                                                                                                    Page(s)
Cases

A.A. ex rel. Betenbaugh v. Needville Indep. Sch. Dist.,
   611 F.3d 248 (5th Cir. 2010) ........................................................................................................26

Am. Hosp. Ass’n v. Bowen,
  834 F.2d 1037 (D.C. Cir. 1987) ...................................................................................................32

ANR Storage Co. v. FERC,
  904 F.3d 1020 (D.C. Cir. 2018) ............................................................................................. 41-42

Axson-Flynn v. Johnson,
  356 F.3d 1277 (10th Cir. 2004) ....................................................................................................17

Blackhawk v. Pennsylvania,
    381 F.3d 202 (3d Cir. 2004) .........................................................................................................16

Bowen v. Georgetown Univ. Hosp.,
   488 U.S. 204 (1988) .......................................................................................................................30

Brown v. Entm’t Merchs. Ass’n,
   564 U.S. 786 (2011) .......................................................................................................................24

Buck v. Gordon,
   No. 1:19-cv-286, 2019 WL 4686425 (W.D. Mich. Sept. 26, 2019)..................................passim

Burwell v. Hobby Lobby Stores, Inc.,
   573 U.S. 682 (2014) ..........................................................................................................24, 25, 29

Cal. State Outdoor Advert. Ass’n, Inc. v. California,
    No. S-05-0599, 2006 WL 662747 (E.D. Cal. Mar. 16, 2006)..................................................28

Chamber of Commerce v. Dep’t of Labor,
   885 F.3d 360 (5th Cir. 2018) ........................................................................................................41

Chrysler Corp. v. Brown,
   441 U.S. 281 (1979) ................................................................................................................ 30, 31

Church of the Lukumi Babalu Aye, Inc. v. City of Hialeah,
   508 U.S. 520 (1993) .................................................................................................................passim

Citizens to Pres. Overton Park, Inc. v. Volpe,
    401 U.S. 402 (1971) .......................................................................................................................40


                                                                       v
       Case 3:19-cv-00365 Document 15 Filed on 01/30/20 in TXSD Page 6 of 58



Collins v. NTSB,
    351 F.3d 1246 (D.C. Cir. 2003) ...................................................................................................30

Cunningham v. City of Shreveport,
   407 F. Supp. 3d 595 (W.D. La. 2019) .........................................................................................17

DeOtte v. Azar,
   393 F. Supp. 3d 490 (N.D. Tex. 2019) ................................................................................. 45-46

eBay, Inc. v. MercExchange, L.L.C.,
   547 U.S. 388 (2006) .........................................................................................................................4

Elrod v. Burns,
   427 U.S. 347 (1976) .......................................................................................................................45

Emp’t Div. v. Smith,
  494 U.S. 872 (1990) ..........................................................................................................15, 16, 17

FDA v. Brown & Williamson Tobacco Corp.,
  529 U.S. 120 (2000) .......................................................................................................................34

Fraternal Order of Police Newark Lodge No. 12 v. City of Newark,
   170 F.3d 359 (3d Cir. 1999) (Alito, J.) ................................................................................. 17, 18

Gonzales v. O Centro Espirita Beneficente Uniao
   do Vegetal, 546 U.S. 418 (2006)...............................................................................................passim

Gonzales v. Oregon,
   546 U.S. 243 (2006) .......................................................................................................................33

Holt v. Hobbs,
   135 S. Ct. 853 (2015) ...............................................................................................................passim

Hosanna-Tabor Evangelical Lutheran Church & Sch. v. EEOC,
   565 U.S. 171 (2012) .......................................................................................................................43

ITT Educ. Servs., Inc. v. Acre,
   533 F.3d 342 (5th Cir. 2008) .......................................................................................................... 4

Kikumura v. Hurley,
   242 F.3d 950 (10th Cir. 2001) ......................................................................................................45

Korte v. Sebelius,
    735 F.3d 654 (7th Cir. 2013) ........................................................................................................45

La. Pub. Serv. Comm’n v. FCC,
   476 U.S. 355 (1986) .......................................................................................................................30

                                                                       vi
       Case 3:19-cv-00365 Document 15 Filed on 01/30/20 in TXSD Page 7 of 58



La Union del Pueblo Entero v. FEMA,
   141 F. Supp. 3d 681 (S.D. Tex. 2015) ........................................................................................32

Larson v. Valente,
   456 U.S. 228 (1982) .......................................................................................................................19

Lexmark Int’l, Inc. v. Static Control Components, Inc.,
   572 U.S. 118 (2014) .......................................................................................................................34

Luminant Generation Co. v. EPA,
   675 F.3d 917 (5th Cir. 2012) ........................................................................................................35

Mass. Fair Share v. Law Enforcement Assistance Admin.,
   758 F.2d 708 (D.C. Cir. 1985) ............................................................................................... 31-32

Masterpiece Cakeshop, Ltd. v. Colo. Civil Rights Comm’n,
   138 S. Ct. 1719 (2018) ............................................................................................................ 43, 44

McDaniel v. Paty,
  435 U.S. 618 (1978) .......................................................................................................................20

Metro. Stevedore Co. v. Rambo,
   521 U.S. 121 (1997) .......................................................................................................................30

Michigan v. EPA,
   135 S. Ct. 2699 (2015) ............................................................................................................ 42, 44

Midrash Sephardi, Inc. v. Town of Surfside,
   366 F.3d 1214 (11th Cir. 2004) ....................................................................................................18

Mitchell Cty. v. Zimmerman,
   810 N.W.2d 1 (Iowa 2012) ...........................................................................................................18

Morton v. Ruiz,
   415 U.S. 199 (1974) ................................................................................................................. 32-33

Motor Vehicle Mfrs. Ass’n of U.S., Inc. v. State Farm Mut. Auto. Ins. Co.,
   463 U.S. 29 (1983)................................................................................................................... 40, 42

Nat’l Ass’n of Home Builders v. Defs. of Wildlife,
   551 U.S. 644 (2007) .......................................................................................................................35

Nat’l Ass’n of Home Health Agencies v. Schweiker,
   690 F.2d 932 (D.C. Cir. 1982) .....................................................................................................32

NFIB v. Sebelius,
  567 U.S. 519 (2012) .......................................................................................................................36

                                                                      vii
       Case 3:19-cv-00365 Document 15 Filed on 01/30/20 in TXSD Page 8 of 58



O’Reilly v. U.S. Army Corps of Eng’rs,
   477 F.3d 225 (5th Cir. 2007) ........................................................................................................40

Obergefell v. Hodges,
   135 S. Ct. 2584 (2015) ...................................................................................................................21

Opulent Life Church v. City of Holly Springs,
   697 F.3d 279 (5th Cir. 2012) ................................................................................................. 45, 46

Paul v. United States,
   140 S. Ct. 342 (2019) .....................................................................................................................34

RTM Media, L.L.C. v. City of Houston,
  518 F. Supp. 2d 866 (S.D. Tex. 2007) ........................................................................................45

Schism v. United States,
    316 F.3d 1259 (Fed. Cir. 2002) ....................................................................................................39

SEC v. Chenery Corp.,
  318 U.S. 80 (1943)..........................................................................................................................42

South Dakota v. Dole,
   483 U.S. 203 (1987) .......................................................................................................... 35, 38-39

Sw. Elec. Power Co. v. EPA,
    920 F.3d 999 (5th Cir. 2019) ........................................................................................................41

Tagore v. United States,
   735 F.3d 324 (5th Cir. 2013) ........................................................................................................22

Texas v. United States,
   328 F. Supp. 3d 662 (S.D. Tex. 2018) ........................................................................................32

Texas v. United States,
   787 F.3d 733 (5th Cir. 2015) ........................................................................................................32

Texas v. United States,
   809 F.3d 134 (5th Cir. 2015) ........................................................................................................32

Thomas v. Review Bd.,
   450 U.S. 707 (1981) .......................................................................................................................26

Transactive Corp. v. United States,
   91 F.3d 232 (D.C. Cir. 1996)........................................................................................................42

Trinity Lutheran Church of Columbia, Inc. v. Comer,
    137 S. Ct. 2012 (2017) ...................................................................................................................20

                                                                     viii
        Case 3:19-cv-00365 Document 15 Filed on 01/30/20 in TXSD Page 9 of 58



Tucker v. Collier,
   906 F.3d 295 (5th Cir. 2018) ........................................................................................................28

Util. Air Reg. Grp. v. EPA,
    573 U.S. 302 (2014) .......................................................................................................... 36-37, 39

Ward v. Polite,
  667 F.3d 727 (6th Cir. 2012) ................................................................................................. 16, 17

Whitman v. Am. Trucking Ass’ns,
  531 U.S. 457 (2001) .......................................................................................................................33

Wisconsin v. Yoder,
   406 U.S. 205 (1972) ................................................................................................................ 20, 21

Statutes

5 U.S.C. § 301 ..........................................................................................................................29, 30, 39

5 U.S.C. § 553 ..........................................................................................................................30, 31, 32

5 U.S.C. § 706 ..................................................................................................................... 4, 29, 34, 36

42 U.S.C. § 603 .....................................................................................................................................38

42 U.S.C. § 608 .............................................................................................................................. 38, 41

42 U.S.C. § 671 ...............................................................................................................................passim

42 U.S.C. § 672 .....................................................................................................................................42

42 U.S.C. § 674 .............................................................................................................................. 35, 38

42 U.S.C. § 2000bb-1 .................................................................................................................... 24, 43

42 U.S.C. § 2000bb-3 ...........................................................................................................................44

Ala. Stat. § 26-10D-5 .............................................................................................................................6

Kan. Stat. § 60-5322 ...............................................................................................................................6

Mich. Comp. Laws § 722.124e ............................................................................................................. 6

Miss. Code § 11-62-5 .............................................................................................................................6

N.D. Cent. Code § 50-12-07.1 ............................................................................................................. 6

Okla. Stat. tit. 10A, § 1-8-112 ............................................................................................................... 6

                                                                          ix
       Case 3:19-cv-00365 Document 15 Filed on 01/30/20 in TXSD Page 10 of 58



S.D. Codified Laws § 26-6-38 .............................................................................................................. 6

Tenn. 2020 HB 0836 ............................................................................................................................. 6

Tex. Gov’t Code § 2400.002 ..............................................................................................................43

Tex. Hum. Res. Code § 45.004 ..................................................................................................... 5, 43

Tex. Hum. Res. Code § 45.005 ........................................................................................................ 5-6

Va. Code § 63.2-1709.3 ......................................................................................................................... 6

Regulations

1 C.F.R. § 21.40 ....................................................................................................................................30

45 C.F.R. § 75.101 ......................................................................................................................... 39, 41

45 C.F.R. § 75.102 ...................................................................................................................10, 17, 22

45 C.F.R. § 75.300 ..........................................................................................................................passim

45 C.F.R. § 1355.25 ..............................................................................................................................43

81 Fed. Reg. 45,270 (July 13, 2016) .............................................................................................passim

81 Fed. Reg. 89,393 (Dec. 12, 2016) .......................................................................................... 30, 43

Other Authorities

Children’s Bureau, Title IV-E Foster Care (May 17, 2012) ..........................................................42

Fed. R. Civ. P. 56(a) ........................................................................................................................ 4, 30

Julia Duin, Catholics End D.C. Foster-Care Program, Washington Times
    (Feb. 18, 2010) ..................................................................................................................................7

Michael Stokes Paulsen, A RFRA Runs Through It: Religious Freedom and the U.S.
   Code, 56 Mont. L. Rev. 249 (1995) ....................................................................................... 24, 44

Patricia Wen, Catholic Charities Stuns State, Ends Adoptions, boston.com
   (Mar. 10, 2006) ................................................................................................................................. 7

U.S. Const. amend. I ............................................................................................................................43

Tex. Const. art. I...................................................................................................................................43

10B Wright & Miller, Federal Practice and Procedure § 2733 (4th ed.) ............................... 29-30


                                                                          x
    Case 3:19-cv-00365 Document 15 Filed on 01/30/20 in TXSD Page 11 of 58




                                    INTRODUCTION
   The federal government has enacted an illegal impediment to helping children in foster

care. The foster care system needs more providers willing to serve children, but 45 C.F.R.

§ 75.300(c)-(d) (Section 75.300) prevents many faith-based providers, like Plaintiff

Archdiocese of Galveston-Houston, from participating. Section 75.300 puts organizations like

the Archdiocese to a terrible choice: either compromise their sincere religious beliefs about

the family or refrain from serving children in the foster care system. At least one state—

Michigan—has already used Section 75.300 to force private, faith-based foster care and

adoption providers to either violate their sincere religious beliefs or refrain from providing

much-needed services to children.

   That is a significant problem for Plaintiffs the State of Texas and its Department of Family

and Protective Services. In 2017, Texas tried to expand its diverse network of residential child

care providers by enacting HB 3859, a law designed to ensure both that faith-based providers

can serve children in foster care and that everyone can receive services through a willing

provider. But the imposition of Section 75.300 is preventing HB 3859 from having its intended

effect of expanding residential child care provider options in Texas.

   Here, the Department of Health and Human Services (HHS) has already acknowledged

that Section 75.300 has legal infirmities, and that its enforcement would harm the foster care

system and decrease the number of providers available to serve children in need. That is why

it granted South Carolina a blanket exemption from one aspect of this regulation. But it has




                                               1
    Case 3:19-cv-00365 Document 15 Filed on 01/30/20 in TXSD Page 12 of 58



not granted Texas’s request for a similar exemption. Add. 69-73. 1 And while HHS has

announced a temporary stop to its own enforcement of Section 75.300, it has admitted this

does not remove Section 75.300 from the Federal Register or make conduct that violates the

regulation lawful. To the contrary, Section 75.300 remains on the books, posing a substantial

risk to federal funding for states and private providers if it is violated. This uncertainty—

combined with the possibility that a change in administration, a lawsuit, or other administrative

action may prevent the government from following through on its claimed intention to amend

Section 75.300 after rulemaking—is deterring the Archdiocese of Galveston-Houston from

even considering how it might sponsor foster care services in partnership with the State of

Texas. This is why Texas and the Archdiocese have filed suit challenging the regulation and

seek summary judgment on a subset of their claims at the outset; to increase the number of

foster care providers available to children in need.

    Section 75.300 violates the First Amendment. Neither neutral nor generally applicable, the

regulation cannot survive strict scrutiny. It also violates the Religious Freedom Restoration

Act (RFRA) because it substantially burdens the Archdiocese’s free exercise of religion without

furthering a compelling government interest. Indeed, HHS itself admitted that Section 75.300

raises RFRA concerns when it granted the South Carolina exemption.

    Section 75.300 also violates the Administrative Procedure Act (APA). First, no statute

authorized HHS to promulgate Section 75.300. Second, Section 75.300 contradicts the

statutory provisions Congress enacted to govern foster care. Third, HHS’s action was arbitrary



1 All citations to “Add.” refer to Plaintiffs’ Addendum to the Motion for Partial Summary
Judgment.

                                               2
    Case 3:19-cv-00365 Document 15 Filed on 01/30/20 in TXSD Page 13 of 58



and capricious because it was internally inconsistent and because it ignored both the best

interests of children in foster care and the religious liberty interests of faith-based providers.

   Given the facial infirmities in the challenged regulation—along with the federal

government’s numerous admissions in their notice of proposed rulemaking and notice of non-

enforcement—there is no need for extensive development of a factual record. The record is

not in dispute, and adjudication of the legal issues raised in this motion for partial summary

judgment is likely to fully resolve this case. Doing so promptly will conserve judicial and party

resources and, most importantly, eliminate an illegal impediment to serving children in need.

    STATEMENT OF THE NATURE AND STAGE OF THE PROCEEDING

   Plaintiffs filed this action pursuing declaratory, injunctive, and APA relief against

application of 45 C.F.R. § 75.300 to child care providers working with the Texas foster care

system, including prospective religious child care providers such as Plaintiff Archdiocese of

Galveston-Houston. This motion for partial summary judgment seeks final judgment on some

of Plaintiffs’ claims and declaratory and injunctive relief.

                              STATEMENT OF THE ISSUES

   Plaintiffs seek summary judgment on their claims that application of 45 C.F.R. § 75.300 to

the Archdiocese and Texas violates the Free Exercise Clause, RFRA, and the APA. In turn:

   1. Does Section 75.300 violate the Free Exercise Clause as applied to the Archdiocese?

       (Count VII)

   2. Does Section 75.300 violate the Religious Freedom Restoration Act, 42 U.S.C.

       § 2000bb et seq., as applied to the Archdiocese? (Count VI)




                                                 3
    Case 3:19-cv-00365 Document 15 Filed on 01/30/20 in TXSD Page 14 of 58



   3. Was Section 75.300 promulgated in violation of the Administrative Procedure Act, 5

       U.S.C. § 706, because it was: (a) in excess of statutory authority (Count III); (b) contrary

       to statutory limitations in Title IV-E, 42 U.S.C. § 671 (Count II); and/or (c) arbitrary

       and capricious as internally inconsistent and not accounting for important interests

       (Counts IV-V)?

   Summary judgment should be granted where the movant shows there is “no genuine

dispute as to any material fact and the movant is entitled to judgment as a matter of law.” Fed.

R. Civ. P. 56(a).

   Plaintiffs also seek injunctive relief against enforcement of the regulation and its

substantive requirements. To obtain permanent injunctive relief, a plaintiff must demonstrate:

“(1) that it has suffered an irreparable injury; (2) that remedies available at law, such as

monetary damages, are inadequate to compensate for that injury; (3) that, considering the

balance of hardships between the plaintiff and defendant, a remedy in equity is warranted; and

(4) that the public interest would not be disserved by a permanent injunction.” ITT Educ. Servs.,

Inc. v. Acre, 533 F.3d 342, 347 (5th Cir. 2008) (quoting eBay, Inc. v. MercExchange, L.L.C., 547

U.S. 388, 391 (2006)).

                STATEMENT OF UNDISPUTED MATERIAL FACTS

   A. The Texas foster care system.

   Texas’s foster care system cares for children who cannot live safely at home. The Texas

Department of Family and Protective Services (DFPS) administers that system, Add. 2, ¶ 2,

but it does not work alone. DFPS partners with residential child care providers throughout

the State. Having a diverse network of providers helps DFPS fulfill its responsibilities. Id. ¶ 6.



                                                4
    Case 3:19-cv-00365 Document 15 Filed on 01/30/20 in TXSD Page 15 of 58



These providers include both secular and faith-based organizations. They have varying views

on religion, sexual orientation, gender identity, and the definition of marriage. Id. ¶ 7.

   DFPS spends about half a billion dollars per year on residential child care. About a quarter

of that money is federal funding awarded by HHS under Title IV-E of the Social Security Act.

Id. ¶ 8. Multiple faith-based providers that work with DFPS receive Title IV-E funding. Id.

¶ 11. Texas children and DFPS both benefit from the services these organizations provide. Id.

¶ 12.

   To ensure it could continue partnering with faith-based providers, Texas enacted HB 3859.

It protects faith-based residential child care providers from being forced to violate their sincere

religious beliefs by state government actors. See Tex. Hum. Res. Code §§ 45.001–010. HB 3859

provides that the State and its affiliates “may not discriminate or take any adverse action

against a child welfare services provider” for refusing to provide certain services based on

religious convictions. Id. § 45.004. Service providers “may not be required to provide any

service that conflicts with the provider’s sincerely held religious beliefs.” Id. § 45.005(a).

   These religious-liberty protections increase the number of organizations able to help

children in the foster care system. They do not prevent any child or family from obtaining the

care that they need. HB 3859 requires service providers who decline to provide certain services

to refer children and families to other providers “who provide the service being denied.” Id.

§ 45.005(c). That furthers HB 3859’s goal of ensuring the largest possible pool of service

providers in Texas without limiting a single child’s access to necessary services.

   Other states have taken a similar approach. Alabama, Kansas, Michigan, Mississippi, North

Dakota, Oklahoma, South Dakota, Tennessee, and Virginia have all passed analogous laws to



                                                 5
    Case 3:19-cv-00365 Document 15 Filed on 01/30/20 in TXSD Page 16 of 58



serve the children of their states while respecting the religious convictions of those who serve

them. 2

    But Section 75.300 threatens DFPS’s ability to continue working with a diverse network

of residential child care providers. Some providers have sincerely held religious beliefs that

prevent them from complying with the requirements of Section 75.300. If, as a condition of

receiving that and other federal funding, DFPS is forced to forgo working with these types of

providers, it would reduce the system’s placement capacity. Such reduced capacity would harm

children in foster care. Add. 4 ¶ 12.

    B. The Archdiocese would like to support the provision of foster care services to
       children in need.

    Plaintiff Archdiocese of Galveston-Houston is headed by the Roman Catholic Archbishop

of Galveston-Houston. The Archdiocese serves over 1.5 million Catholic faithful in 147

parishes and seven missions throughout ten counties in Southeast Texas. As part of its

Christian mission, the Archdiocese supports charitable services both directly and through

numerous ministries.

    Ever since 1866—when the Sisters of Charity of the Incarnate Word began serving

orphaned children in Galveston—providing loving support for society’s most vulnerable

children has been a priority for the Catholic Church in Southeast Texas. Add. 25-26. For over

a half-century (and ending in the early 2010s), the Archdiocese provided—through its

ministries—foster care services (as a child placing agency) to children and families in need



2See Ala. Stat. § 26-10D-5; Kan. Stat. § 60-5322; Mich. Comp. Laws § 722.124e(2)-(4); Miss.
Code § 11-62-5(2)-(3); N.D. Cent. Code § 50-12-07.1; Okla. Stat. tit. 10A, § 1-8-112; S.D.
Codified Laws § 26-6-38; Tenn. 2020 HB 0836; Va. Code § 63.2-1709.3.

                                               6
     Case 3:19-cv-00365 Document 15 Filed on 01/30/20 in TXSD Page 17 of 58



through a license and contract with the State of Texas. While the Archdiocese discontinued

this ministry, it maintained the hope of again sponsoring such services in the future. But as of

late, “[m]ost Catholic Charities in the state [of Texas] ha[ve] withdrawn from serving foster

children.” Add. 28-29; Add. 31-33 (same). Fear of litigation targeting any program that

sincerely adheres to traditional Catholic beliefs on marriage has been a significant factor

driving these closures. Add. 25 (noting that these programs are “targets of litigation”); Add. 8

¶¶ 12-13.

    This problem is not unique to Texas. Across the country, Catholic foster care agencies

have been forced to close their doors due to hostility from government actors and the threat,

cost, and uncertainty of prolonged litigation.3 Confronted with the difficult choice of either

compromising their faith or losing their foster care ministry, these agencies chose to keep their

faith.

    Reinvigorating Catholic foster care is a priority for the Catholic Church in Texas. As part

of this effort, the Archdiocese would like to consider how to again provide foster care support

services either alone or in partnership with another organization to children and families in

the Galveston-Houston area. The Texas Catholic Conference of Bishops (TCCB) has also

taken steps to encourage foster care by Catholic families. TCCB supported HB 3859. See Add.

31 (“The Catholic Church in Texas will work to promote more foster parenting[.]”). TCCB

also created the St. Joseph Ministry to help recruit more foster families. As the St. Joseph




3 Patricia Wen, Catholic Charities Stuns State, Ends Adoptions, boston.com (Mar. 10, 2006),
https://perma.cc/85ZJ-Q2U6; Julia Duin, Catholics End D.C. Foster-Care Program, Washington
Times (Feb. 18, 2010), https://perma.cc/2GZF-JGGS.

                                               7
    Case 3:19-cv-00365 Document 15 Filed on 01/30/20 in TXSD Page 18 of 58



Ministry makes clear, “[t]aking care of the orphan is a fundamental teaching of the Catholic

faith.” Add. 40.

   For the Archdiocese, the provision of foster care services to children in need is an

important religious ministry and an exercise of sincere religious beliefs. Were the Archdiocese

allowed to provide foster care services to children in the Texas foster care system, this would

not prevent anyone (including LGBTQ individuals) from fostering or adopting a child. The

Archdiocese seeks only to expand the number of parents and providers available to help

children find loving homes.

   C. Section 75.300 was flawed from the start.

   On December 12, 2016, HHS finalized 45 C.F.R. § 75.300(c)-(d). This new regulation

governed child welfare funding provided to the states under Title IV-E of the Social Security

Act, 42 U.S.C. §§ 670-679b. As HHS has admitted, the current version of Section 75.300

imposed new nondiscrimination requirements beyond what was authorized by the federal

statute governing the HHS program. Add. 53 (“These requirements are broader than the

nondiscrimination requirements specified in the Foster Care Program Statute.”); see 42 U.S.C.

§ 671(a)(18) (race, color, national origin).

   Section 75.300 requires government entities awarding federal funds under Title IV-E to

“communicate to the non-Federal entity all relevant public policy requirements [such as those

in Section 75.300], . . . and incorporate them either directly or by reference in the terms and

conditions of the Federal award.” 45 C.F.R. § 75.300(a). In turn, the non-Federal entity is made

“responsible for complying with all requirements of the Federal award.” Id. § 75.300(b).

According to HHS, this non-discrimination requirement applies both directly to states that



                                               8
    Case 3:19-cv-00365 Document 15 Filed on 01/30/20 in TXSD Page 19 of 58



receive Title IV-E funding, and to private faith-based foster care providers. See Add. 55 (noting

that Miracle Hill would be subject to the nondiscrimination requirement in § 75.300(c) because

Section 75.300 “require[es] South Carolina to require Miracle Hill to comply with § 75.300(c)

as a condition of receiving funding”); Add. 18-19 (noting that HHS is enjoined from enforcing

§ 75.300(c) against a “particular subgrantee[]” and explaining that “some Federal grantees

have stated that they will require their subgrantees to comply with the non-statutory

requirements of § 75.300(c) and (d)”).

   Section 75.300, however, failed to provide an accommodation for religious organizations

that could not comply with the new nondiscrimination language. Add. 55 (Section 75.300

“provides no exceptions for religious organizations as are found in other statutes prohibiting

religious discrimination.”). Since Section 75.300 was finalized, this lack of an accommodation

has caused numerous problems: This Rule has been used by state governments to justify

discrimination against faith-based foster care providers, the Rule has been the subject of

litigation in multiple jurisdictions, and requests for exceptions from the Rule have come in

from across the country.

   D. HHS grants South Carolina a waiver of Section 75.300’s religious non-
      discrimination provision.

   South Carolina, for example, was concerned that Section 75.300 could be used by the

federal government to prohibit faith-based providers from serving children in need consistent

with their sincere beliefs. The State was also concerned that this would have a detrimental

impact on its foster care program. Add. 61-62. Accordingly, it petitioned HHS for an exception

from Section 75.300’s religious non-discrimination requirement on behalf of faith-based foster

care providers like Miracle Hill—a Christian foster care provider that uses religious criteria to


                                               9
      Case 3:19-cv-00365 Document 15 Filed on 01/30/20 in TXSD Page 20 of 58



select foster parents who are co-religionists. As the State explained, “faith-based organizations

‘are essential’ to recruiting more families for child placement,” and “South Carolina would

have difficulty continuing to place all children in need of foster care” without them. Add. 54.

      Recognizing the important service provided by faith-based providers, HHS granted South

Carolina’s waiver request under 45 C.F.R. § 75.102(b), which authorizes HHS to grant case-

by-case exceptions. Add. 55 (“Exceptions on a case-by-case basis for individual non-Federal

entities may be authorized by the HHS awarding agency.”). As HHS explained, it “found that

Miracle Hill’s sincere religious exercise would be substantially burdened by application of the

religious nondiscrimination requirement of 75.300(c), and that subjecting Miracle Hill to that

requirement . . . is not the least restrictive means of advancing a compelling government

interest on the part of HHS.” Id. As part of this analysis, HHS pointed out that “at least nine

other foster care providers in Miracle Hill’s area” are available to provide services that Miracle

Hill cannot. Id.

      HHS therefore concluded that “subjecting Miracle Hill to the religious nondiscrimination

requirement in § 75.300(c) . . . would be inconsistent with RFRA,” and would impose an

“unacceptable” burden on providers like Miracle Hill. Add. 55. HHS also noted that, applied

to Miracle Hill, Section 75.300 “would also cause a significant programmatic burden for the

[South Carolina] Foster Care Program by impeding the placement of children into foster care.”

Id.

      E. A federal court in Michigan enjoins Section 75.300.

      State and local governments have also used Section 75.300 to threaten funding for faith-

based providers. In Michigan, Section 75.300’s provisions regarding sexual orientation and



                                               10
    Case 3:19-cv-00365 Document 15 Filed on 01/30/20 in TXSD Page 21 of 58



gender identity were cited by Michigan Attorney General Dana Nessel to justify stripping

funding and licensure from private foster and adoption agencies that could not endorse and

certify same-sex marriages consistent with their sincere religious beliefs. Nessel took the

position that new state-level nondiscrimination provisions were required by Section 75.300,

explaining that “[a]s a condition of receiving these federal funds, [HHS] requires that states’

Title IV-E funded programs prohibit discrimination on the basis of sexual orientation or

gender identity. 45 CFR 75.300(c).” Add. 64.

   Nessel’s actions led a federal court in Michigan to enjoin both the state’s own policy and

Section 75.300 as applied to the faith-based foster care and adoption provider that filed suit.

Buck v. Gordon, No. 1:19-cv-286, 2019 WL 4686425 (W.D. Mich. Sept. 26, 2019), appeal filed

(Oct. 15, 2019). In granting this relief, the court noted that the faith-based provider “has

shown that it is likely to prevail on its constitutional and RFRA claims” and rejected HHS’s

argument that the case was moot simply because HHS had no intention of enforcing the

regulation. Id. at *13. As the court explained, “government officials can change their minds,

re-interpret laws already on the books, and disrupt established practices.” Id. Accordingly, the

court found that HHS had failed to rebut the argument put forward by plaintiffs that faith-

based agencies faced “a credible threat that [HHS] will enforce” Section 75.300. Id.

   F. HHS concedes that Section 75.300 likely violates RFRA and cannot survive
      strict scrutiny.

   On October 31, 2019, the Archdiocese and the State of Texas filed this lawsuit challenging

Section 75.300 under the United States Constitution, RFRA, and the APA. Shortly thereafter,

HHS announced that it had “serious concerns” regarding the implementation of Section

75.300. Add. 58-59. Then, on November 19, 2019, HHS published a notice of proposed


                                               11
    Case 3:19-cv-00365 Document 15 Filed on 01/30/20 in TXSD Page 22 of 58



rulemaking (NPRM) and a notice of nonenforcement in the Federal Register. Add. 18-23;

Add. 35-37.

   HHS explained that it was modifying Section 75.300 due to “several complaints, requests

for exceptions, and lawsuits concerning § 75.300(c) and (d).” Add. 19. According to HHS,

Section 75.300 had “created a lack of predictability and stability for this Department and

stakeholders with respect to these provisions’ viability and enforcement.” Id. Further, the

agency conceded that “certain grantees and subgrantees [] may cease providing services if

forced to comply with § 75.300(c) and (d),” and that the loss of these partners “would likely

reduce the effectiveness of the programs funded by federal grants by reducing the number of

entities available to provide services under these programs.” Id.

   HHS also explained that it was “exercising its enforcement discretion and as such, [Section

75.300] will not be enforced, pending repromulgation.” Add. 36. Yet, as the agency made clear,

“merely because a regulation is not being enforced does not mean that it has been repealed or

replaced. The Final Rule still appears in the Code of Federal Regulations.” Id. Thus, HHS also

explained that the NPRM “should be properly viewed as a proposal” to modify some

provisions of Section 75.300 only. Add. 19. And because it is just a proposal, there is

uncertainty as to what the final version of the rule might say.

   G. Section 75.300 prevents the Archdiocese from providing foster care services in
      partnership with Texas.

   The Archdiocese believes that foster care and adoption services are an important ministry,

and would like to consider how it could support foster care services to children in the state’s

public foster care system, but Section 75.300 currently prevents it from doing so. Until 2017,

the legal environment for faith-based providers in Texas was uncertain, and numerous foster


                                               12
    Case 3:19-cv-00365 Document 15 Filed on 01/30/20 in TXSD Page 23 of 58



care agencies had closed out of concerns over litigation and government action. But after

Texas passed HB 3859 in 2017, the only legal barrier currently preventing the Archdiocese

from providing foster care services is Section 75.300. And, despite HHS’s recent proposed

changes, this provision continues to prevent the Archdiocese from sponsoring or opening a

ministry that would provide this crucial service. Creating a new foster care ministry would

require a substantial investment of time, money, and relationship capital. It would require

hiring and training staff, obtaining appropriate licenses and permits, obtaining office space,

and recruiting families who would be interested in providing foster care. Were Section 75.300

enforced either by HHS or indirectly through litigation or other administrative action, any

such investment of time, talent, and resources—necessary at both the planning and

implementation phase—would be lost. Taking such a risk may not be appropriate stewardship

of the Archdiocese’s limited resources.

   The Archdiocese is also concerned that, were it to take actions today in violation of Section

75.300, its actions could be cited as the basis for future enforcement actions by a later

administration, challenged by a lawsuit enjoining any new HHS proposed rule, or disrupted by

a change to the final rule different from that reflected in the NPRM. These threats continue

to deter the Archdiocese from considering how to support the provision of foster care services

today.

                           SUMMARY OF THE ARGUMENT

   Section 75.300 infringes the rights of the Archdiocese under the First Amendment. The

regulation is not neutral and generally applicable in light of the exemptions it permits, and that

HHS has actually permitted. Its infringements are therefore subject to strict scrutiny. But



                                               13
    Case 3:19-cv-00365 Document 15 Filed on 01/30/20 in TXSD Page 24 of 58



Section 75.300 cannot survive this rigorous scrutiny because it undermines compelling state

interests in application and is not the least restrictive means of pursuing any plausible

compelling interests. Likewise, Section 75.300 conflicts with the Archdiocese’s rights under

RFRA—a statute protecting First Amendment freedoms that also mandates strict scrutiny—

because the coercive effects on the Archdiocese’s sincerely held beliefs about marriage, and

practices flowing from those beliefs, are undeniable. Appropriate relief in this matter will

therefore include injunctive relief against enforcement of the regulation and its substantive

requirements. The infringement on First Amendment freedom is irreparable; an injunction

will protect Plaintiffs from future infringement without harming Defendants’ legitimate

interests; and the public interest favors the protection of the constitutional rights at issue.

   Further, Section 75.300 violates the Administrative Procedure Act. It is not authorized by

its purported statutory authority. It unlawfully undermines Congress’s choice to set a limited

set of reasons for denying Title IV-E funds. And it is arbitrary and capricious as promulgated.

                                         ARGUMENT

I. Section 75.300 violates the Free Exercise Clause (Count VII).

   Under current Free Exercise Clause doctrine, a law burdening religious exercise is subject

to strict scrutiny if it is not “neutral” and “generally applicable.” Employment Division v. Smith,

494 U.S. 872, 880 (1990). The Supreme Court elaborated on when a regulation fails that

standard in Church of the Lukumi Babalu Aye, Inc. v. City of Hialeah, 508 U.S. 520 (1993). There,

the Court ruled 9-0 in favor of a Santería congregation that challenged four municipal

ordinances restricting the killing of animals. The Court explained that the ordinances were not

“generally applicable” because they were substantially “underinclusive” with regard to conduct



                                                14
    Case 3:19-cv-00365 Document 15 Filed on 01/30/20 in TXSD Page 25 of 58



that undermined the government’s asserted interests “in a similar or greater degree.” Id. at 543-

44; see Smith, 494 U.S. at 884 (contrasting laws of general applicability with those allowing for

“individual exceptions”). And the Lukumi Court additionally found the law not “neutral”

because it accomplished a “religious gerrymander”—that is, it burdened “Santeria adherents

but almost no others.” 508 U.S. at 535-38.

    Based on Smith and Lukumi, courts have identified multiple independent reasons laws or

regulations can fail to be neutral and generally applicable, which include, though are not limited

to: (1) discretion to grant individualized exceptions; (2) categorical exceptions for some

conduct and not others; and (3) differential treatment among religions. Each applies to HHS’s

enforcement and exemption practice regarding Section 75.300, and each is independently

sufficient to trigger strict scrutiny.

    Section 75.300 cannot withstand strict scrutiny. HHS has no compelling interest in

applying Section 75.300 to religious bodies assisting foster children, including the Archdiocese.

Any compelling interest HHS could assert would not actually be furthered by application to

the Archdiocese or similar religious bodies. And in any event, Section 75.300 would not be

the least restrictive means of pursuing any valid compelling interest asserted.

    A. Section 75.300 is not generally applicable.

        1. HHS has permitted individualized exemptions to Section 75.300.

    “[W]here the State has in place a system of individual exemptions, it may not refuse to

extend that system to cases of ‘religious hardship’ without compelling reason.” Smith, 494 U.S.

at 884 (citation omitted). A government’s discretion to grant case-by-case exemptions based

on “the reasons for the relevant conduct” accordingly “triggers strict scrutiny.” Blackhawk v.



                                               15
    Case 3:19-cv-00365 Document 15 Filed on 01/30/20 in TXSD Page 26 of 58



Pennsylvania, 381 F.3d 202, 207, 210 (3d Cir. 2004) (Alito, J.) (citation omitted) (applying Smith);

see also Church of the Lukumi Babalu Aye, Inc. v. City of Hialeah, 508 U.S. 520, 537 (1993) (applying

Smith to hold that “in circumstances in which individualized exemptions from a general

requirement are available,” strict scrutiny applies). The rationale for the individualized

exemptions doctrine is simple. When government officials are permitted to exempt conduct

on a case-by-case basis, there is a risk that the law will be “applied in practice in a way that

discriminates” against disfavored religious conduct, even if unintentionally so. Blackhawk, 381

F.3d at 209 (citing Smith, 494 U.S. at 884).

   Ward v. Polite is instructive. There, a graduate-level counseling student challenged a

university policy that on its face prohibited students from referring counseling clients to other

students. 667 F.3d 727, 736 (6th Cir. 2012). Upon closer inspection, however, it became clear

that this rule was actually an “ad hoc” policy applied at the discretion of the school. Id. at 739.

The court thus struck down the policy, explaining that “[a]t some point, an exception-ridden

policy takes on the appearance and reality of a system of individualized exemptions, the

antithesis of a neutral and generally applicable policy[.]” Id. at 740; see also, e.g., Axson-Flynn v.

Johnson, 356 F.3d 1277, 1298-99 (10th Cir. 2004) (reversing summary judgment in favor of

university on Free Exercise claim challenging a university policy that allowed “ad hoc”

exemptions from the university’s curricular requirements).

   Here, HHS understands itself to have authority “to grant exceptions on a case-by-case

basis” from Section 75.300’s requirements. Add. 55 (quoting 45 C.F.R. § 75.102(b)’s allowance

of certain exceptions “for individual non-Federal entities”). The existence of that system of




                                                 16
    Case 3:19-cv-00365 Document 15 Filed on 01/30/20 in TXSD Page 27 of 58



individualized exemptions alone is enough to deprive Section 75.300 of general applicability.

See Smith, 494 U.S. at 884.

       2. HHS has permitted categorical exemptions to Section 75.300.

   Similarly, government actions that categorically grant exceptions for secular but not

religious conduct are subject to strict scrutiny. Lukumi, 508 U.S. at 534 (“The Court must

survey meticulously the circumstances of governmental categories to eliminate, as it were,

religious gerrymanders.” (citation omitted)). This is because a law is not generally applicable

where it “creates a categorical exemption” for some objections but denies a comparable

religious exemption. Fraternal Order of Police Newark Lodge No. 12 v. City of Newark, 170 F.3d

359, 365 (3d Cir. 1999) (Alito, J.) (citing Lukumi, 508 U.S. at 542). See Cunningham v. City of

Shreveport, 407 F. Supp. 3d 595, 607-08 (W.D. La. 2019) (applying Fraternal Order of Police

standard to Free Exercise claim).

   In Fraternal Order of Police, the Third Circuit considered a free-exercise challenge to a police

department’s grooming policy that exempted beards grown for medical reasons, but not for

religious reasons. Writing for the Third Circuit, then-Judge Alito held that the policy was not

generally applicable, because the disparate treatment of the exemptions represented a “value

judgment” against the relative worthiness of the religious motivation, not an even-handed

application of a general law. 170 F.3d at 366. Likewise, in Midrash Sephardi, Inc. v. Town of Surfside,

the Eleventh Circuit considered a use-limitation zoning ordinance that exempted nonprofit

clubs and lodges, but not houses of worship. 366 F.3d 1214, 1234-35 (11th Cir. 2004). The

Eleventh Circuit found these categorical exemptions “violate[d] the principles of neutrality

and general applicability because private clubs and lodges endanger [the town’s economic



                                                  17
    Case 3:19-cv-00365 Document 15 Filed on 01/30/20 in TXSD Page 28 of 58



interests] as much or more than churches and synagogues.” Id. at 1235; see Mitchell Cty. v.

Zimmerman, 810 N.W.2d 1, 15-16 (Iowa 2012) (vehicle regulation ordinance that provided

exemptions for sources of road damage apart from steel-wheel vehicles used by Mennonites

not generally applicable).

    Here, the waiver given to South Carolina has the characteristics of a categorical exemption.

Although it was justified with reference to case-by-case exemptions, that waiver is not limited

to Miracle Hill’s case. Instead, HHS categorically granted “any . . . subgrantee in the [South

Carolina] Foster Care Program” that only works with parents of certain faiths an exemption

from “the religious non-discrimination requirement of 45 C.F.R. § 75.300(c).” Add. 56. HHS,

however, has failed to act on Texas’s request for an exception from § 75.300 (c) and (d). See

Add. 69-73. Such a categorical exemption would undermine any purported interest in non-

discrimination to the same degree as an exemption for the Archdiocese and like religious

bodies. 4 As a result, Section 75.300 is not generally applicable.

    B. Section 75.300 is not neutral.

    Laws fail Smith’s neutrality standard when they produce “differential treatment.” Lukumi,

508 U.S. at 536. For example, the Court observed in Lukumi that an exemption for kosher

slaughter but not Santería sacrifice created “differential treatment of two religions,” which

could constitute “an independent constitutional violation.” Id. Similarly, in Larson v. Valente,

456 U.S. 228, 246 n.23 (1982), the Court held that the First Amendment forbade registration

and reporting requirements that created differential treatment between “well-established



4   As noted below, however, neither exemption in fact undermines the relevant compelling
interests at play. See Part I.C.

                                                18
    Case 3:19-cv-00365 Document 15 Filed on 01/30/20 in TXSD Page 29 of 58



churches” and “churches which are new and lacking in a constituency.” Cf. Gonzales v. O Centro

Espirita Beneficente Uniao do Vegetal, 546 U.S. 418, 432-37 (2006) (requiring exemption under

RFRA for one religion where exemption was granted for another).

   Here, the South Carolina exemption leads to differential treatment of (a) religious beliefs

that limit an organization’s ability to work with families that do not share its religious beliefs,

and (b) religious beliefs that define a traditional understanding of marriage. Those holding the

former, like Miracle Hill, are now exempt (at least in South Carolina), but those holding the

latter, like the Archdiocese, are not. No examination of the intention of the exemption is

necessary to establish that the result was a non-neutral policy.

   C. Section 75.300 cannot survive strict scrutiny.
   Where a law “burden[s] religious practice [and] is not neutral or not of general application,”

it is subject to “the most rigorous of scrutiny.” Lukumi, 508 U.S. at 546 (emphasis added). This

requires a showing that the law’s application “advance[s] ‘interests of the highest order’ and [is]

narrowly tailored in pursuit of those interests.” Id. (quoting McDaniel v. Paty, 435 U.S. 618, 628

(1978)). See also Wisconsin v. Yoder, 406 U.S. 205, 215 (1972) (applying strict scrutiny under the

Free Exercise Clause); Trinity Lutheran Church of Columbia, Inc. v. Comer, 137 S. Ct. 2012, 2019-

20 (applying “the strictest scrutiny” to a non-neutral law, citing Lukumi and McDaniel).

   Here, the Archdiocese has established that it engages in a religious practice that is burdened

by Section 75.300: Declining to “endorse or certify relationships that are inconsistent with its

sincere religious beliefs, including its understanding of the nature of the human person and

the characteristics of marriage and the family.” Compl. ¶ 48; see Add. 10 ¶¶ 26, 28. Applying

Section 75.300 to require the Archdiocese to provide home studies and certifications for

unmarried cohabitating or same-sex married couples would plainly burden that abstention.


                                                19
    Case 3:19-cv-00365 Document 15 Filed on 01/30/20 in TXSD Page 30 of 58




   Such a burden cannot be justified under strict scrutiny for three independent reasons. First,

HHS cannot identify a compelling governmental interest that would be served by applying

Section 75.300 to the Archdiocese and like religious bodies. Second, applying Section 75.300

would not further any of HHS’s potential interests. And third, Section 75.300 is not the least

restrictive means of serving any plausible compelling interest.

          1. HHS has no compelling governmental interest in applying Section 75.300
             to the Archdiocese or other religious bodies that help foster children.

   First, a governmental interest is by definition not compelling if the government does not

consistently protect it. Lukumi, 508 U.S. at 547 (where government “leaves appreciable damage

to [a] supposedly vital interest unprohibited,” that interest “cannot be regarded” as compelling

within the meaning of the strict scrutiny test (citation omitted)). Here, the record makes clear

that the government has done anything but strictly enforce this regulation, making its interest

far from compelling. See Part I.A-B. Further, the government has no interest at all in

eliminating religious distinctions made by religious organizations with respect to the nature of

marriage. Theology is not within the government’s purview, and the Supreme Court has

already defined the beliefs about marriage and the family at issue here as grounded in “decent

and honorable religious or philosophical premises.” Obergefell v. Hodges, 135 S. Ct. 2584, 2602

(2015).

   Nor can the government offer an interest “of the highest order” as applied to the plaintiffs in

this case. Yoder, 406 U.S. at 215. Under strict scrutiny, the burden is on “the Government to

demonstrate that the compelling interest test is satisfied through application of the challenged

law ‘to the person’—the particular claimant whose sincere exercise of religion is being

substantially burdened.” Holt v. Hobbs, 135 S. Ct. 853, 863 (2015) (citation omitted) (applying

                                               20
    Case 3:19-cv-00365 Document 15 Filed on 01/30/20 in TXSD Page 31 of 58



strict scrutiny in RLUIPA context). 5 Here, the government has made clear—by choosing to

exempt states from Section 75.300 in similar circumstances, and choosing not to enforce

Section 75.300 to anyone not exempt for the near future—that it does not have a compelling

interest in applying it to the Archdiocese in particular.

       2. Section 75.300 does not further HHS’s interests or help more children find
          foster families.

    To meet strict scrutiny, there must be a causal connection between the government’s

asserted interests and the means the government chooses—the means at issue must further

the government’s asserted interests.

    Section 75.300 does not further the government’s alleged interests. “[B]roadly formulated

interests” are insufficient to satisfy strict scrutiny; rather, courts “scrutinize[] the asserted harm

of granting specific exemptions to particular religious claimants.” O Centro, 546 U.S. at 431; see

Tagore v United States, 735 F.3d 324, 330 (5th Cir. 2013) (RFRA requires claimant-specific

analysis) (citing O Centro, 546 U.S. at 430). When applying such scrutiny here, as the district

court in Buck explained, a generalized interest in ending “discrimination” is undermined by the

government’s plain compelling interest in “making available as many properly certified homes

for the placement of foster and adopted children as possible.” See 2019 WL 4686425, at *12;

see also O Centro, 546 U.S. at 431 (“broadly formulated interests” do not satisfy the compelling

interest test). HHS’s subsequent NPRM adopts this position, foreclosing any claim to a

compelling interest: “The Department believes that such an outcome [excluding groups with

religious objections to certifying same-sex couples for foster or adoptive care] would likely


5  RLUIPA applies “the same standard as set forth in RFRA.” Holt, 135 S. Ct. at 860 (quoting
O Centro, 546 U. S. at 436).

                                                 21
    Case 3:19-cv-00365 Document 15 Filed on 01/30/20 in TXSD Page 32 of 58



reduce the effectiveness of programs funded by federal grants by reducing the number of

entities available to provide services under these programs.” Add. 19 (emphasis added). For

this reason, HHS may authorize “case-by-case” exemptions to Section 75.300. See 45 C.F.R.

§ 75.102(b). Accordingly, no broadly-formulated interest in eradicating “discrimination” can

be of the highest order here.

   Second, common sense suggests that applying Section 75.300 to bar the Archdiocese from

working with Texas would not eliminate any opportunities for same-sex couples to foster. If

Texas and the Archdiocese prevail in this action, the result will be that Texas will have the

exact same number of foster agencies available to certify same-sex and cohabitating unmarried

couples—but it will gain agencies to recruit and serve a (large) subset of the foster parent

population.

   Third, applying Section 75.300 would reduce, not increase, the number of foster families

available to adopt children. Fewer foster providers working to find “forever families” means

fewer foster placements and more kids who age out of the system. That result runs directly

counter to HHS’s stated interest in increasing the number of foster placements.

       3. Applying Section 75.300 to the Archdiocese or other religious bodies is not
          the least restrictive means of advancing HHS’s purported interests.
   By engaging in rulemaking to eliminate Section 75.300 (and previously granting Miracle

Hill an exemption from them), HHS has essentially admitted that a means less restrictive of

religious exercise “is available for the Government to achieve its goals.” Holt, 135 S. Ct. at 864

(“least restrictive means” test requires that “the Government must use” any less restrictive

means so available) (citation omitted); see also Brown v. Entm’t Merchs. Ass’n, 564 U.S. 786, 799

(2011) (to survive the standard, burdening a claimant’s rights must be “actually necessary to


                                               22
    Case 3:19-cv-00365 Document 15 Filed on 01/30/20 in TXSD Page 33 of 58




the solution”). Amending Section 75.300 maximizes the number of foster and adoption

agencies. That, therefore, achieves HHS’s stated goal of maximizing the number of potential

foster and adoption families—both LGBTQ families that seek out agencies consistent with

their values, and those families that seek out certain religious foster agencies precisely because of

their religious beliefs. See Buck, 2019 WL 4686425, at *11 (noting limits like HHS’s

“undermine[] the . . . goal of maximizing available placements for children”); Add. 19. Because

such an avenue is “available for the Government,” it must be taken. See Holt, 135 S. Ct. at 864.

II. Section 75.300 violates the Religious Freedom Restoration Act (Count VI).

   “Congress enacted RFRA in 1993 in order to provide very broad protection for religious

liberty.” Burwell v. Hobby Lobby Stores, Inc., 573 U.S. 682, 693 (2014). RFRA provides that a

“[g]overnment shall not substantially burden a person’s exercise of religion” unless that

government “demonstrates that application of the burden to the person—(1) is in furtherance

of a compelling governmental interest; and (2) is the least restrictive means of furthering that

compelling governmental interest.” 42 U.S.C. § 2000bb-1(a), (b).

   RFRA is a “stringent test” that does “more than merely restore the balancing test used” in

pre-Smith free exercise cases; “it provide[s] even broader protection for religious liberty than

was available under those decisions.” Hobby Lobby, 573 U.S. at 695 & n.3; see also Michael Stokes

Paulsen, A RFRA Runs Through It: Religious Freedom and the U.S. Code, 56 Mont. L. Rev. 249,

263 (1995) (“the test is an extremely rigorous one, referring to an extremely narrow range of

permissible justifications for infringements on religious liberty”). This difficult test “is satisfied

through application of the challenged law ‘to the person’—the particular claimant whose

sincere exercise of religion is being burdened.” Holt, 135 S. Ct. at 863. Once it is established



                                                 23
    Case 3:19-cv-00365 Document 15 Filed on 01/30/20 in TXSD Page 34 of 58



that a government action substantially burdens a person’s religious exercise, the court must

“‘scrutiniz[e] the asserted harm of granting [a] specific exemption[] to [a] particular religious

claimant[],’” not debate abstractions—“and ‘to look to the marginal interest in enforcing’ the

challenged government action in that particular context,” not defer to “broadly formulated

interests.” Id. (quoting, inter alia, Hobby Lobby, 573 U.S. at 726-27).

   Here, nothing about Section 75.300 satisfies RFRA’s “stringent test.”

   A. Section 75.300 imposes a substantial burden on the Archdiocese’s religious
      exercise.

   The substantial burden inquiry proceeds in two logical steps. The Court first must identify

the sincere religious exercise at issue. Then, it must determine whether the government has

placed substantial pressure on the plaintiff to abstain from that religious exercise. To

determine the religious exercise at issue, courts look to the claimant’s understanding of their

beliefs, focusing solely on whether the claimant is sincere in his or her beliefs. See, e.g., Hobby

Lobby, 573 U.S. at 724 (substantial burden analysis is not an opportunity to “[a]rrogat[e] the

authority to provide a binding national answer to [a] religious and philosophical question” and

“in effect tell the plaintiffs that their beliefs are flawed”); Holt, 135 S. Ct. at 857 (evidence that

not “‘all of the members of a religious sect’” share the claimant’s belief about the practice at

issue is irrelevant to substantial burden determination) (quoting Thomas v. Review Bd., 450 U.S.

707, 715-16).

   Here, as the declaration from Jennifer Allmon confirms, the Archdiocese adheres to the

teachings of the Roman Catholic Church regarding the nature and purpose of marriage. See

Add. 10 ¶ 26. These are the very same religious beliefs that the district court in Buck found

substantially burdened by Section 75.300. See Buck, 2019 WL 4686425, at *1 (“What this case


                                                 24
    Case 3:19-cv-00365 Document 15 Filed on 01/30/20 in TXSD Page 35 of 58



is about is whether St. Vincent may continue to [place children in adoptive and foster care]

and still profess and promote the traditional Catholic belief that marriage as ordained by God

is for one man and one woman.”). What is more, through its litigation in Buck and its proposed

amendments to Section 75.300, the government has already all but admitted that faith-based

foster care providers like the Archdiocese have sincere religious beliefs regarding marriage and

the family that limit the charitable services they can provide. Supra 9-10, 12; Resp. to Pls.’ Mot.

For Prelim. Inj. at 26, Buck v. Gordon, No. 1:19-cv-286 (W.D. Mich. May 29, 2019), ECF No.

33 (acknowledging that St. Vincent’s inability to endorse or certify same-sex and unmarried

relationships is a “sincerely held religious belief[]”); Add. 20 (acknowledging the same).

   Nor is there any doubt that Section 75.300 substantially burdens these religious beliefs.

Such a burden exists when government action puts “substantial pressure on an adherent to

modify his behavior and to violate his beliefs.” Thomas, 450 U.S. at 718; A.A. ex rel. Betenbaugh

v. Needville Indep. Sch. Dist., 611 F.3d 248, 264 (5th Cir. 2010) (“a total ban of conduct”

constitutes a substantial burden on religious exercise). Here, HHS has again all but admitted

that Section 75.300 imposes a substantial burden on religious beliefs and practices regarding

marriage held by the Archdiocese and other similarly-situated religious bodies. The NPRM

itself acknowledges that the entire point of revisiting Section 75.300 is that these “non-

statutory requirements” can “conflict with statutory requirements (e.g., RFRA).” Add. 19-20

(emphasis added). Indeed, as written, Section 75.300 “does not . . . provide a clear pathway

for compliance” when it conflicts with RFRA. See id. at 3. Unsurprisingly then, as the NPRM

discusses, HHS issued a waiver to South Carolina precisely because Section 75.300

“substantially burden[s]” the religious beliefs of agencies (like Miracle Hill) that cannot violate



                                                25
    Case 3:19-cv-00365 Document 15 Filed on 01/30/20 in TXSD Page 36 of 58



their faith in the provision of foster care and adoption services. For Miracle Hill and South

Carolina, the issue was Section 75.300’s ban on making distinctions based on religious belief;

for the Archdiocese and Texas, the issue arises in the context of Section 75.300’s ban on

making distinctions according to sexual orientation and gender identity. Add. 55.

   Moreover, the NPRM cites (at page 2) an injunction entered against HHS in Buck v.

Gordon—a case where HHS similarly admitted “a potential issue under RFRA” exists if Section

75.300 were used to force a Catholic adoption agency to certify same-sex couples for fostering

or adoption. Buck, ECF No. 33 at 25 n.11; see also id. at 16 (“St. Vincent undoubtedly engages

in a course of conduct that implicates the Constitution when it declines to recommend same-

sex couples as potential adoptive or foster parents on religious grounds, . . . .”). The district

court agreed—and took notice that HHS did not seriously dispute that Section 75.300 imposes

a substantial burden on St. Vincent’s Catholic beliefs regarding marriage. See 2019 WL

4686425, at *14 n.14 (“To the extent the Federal Defendants argue that the Plaintiffs fail to state a

claim, the argument fails. Plaintiffs have stated a plausible RFRA claim.”) (emphasis added).

The very same religious beliefs at issue in Buck are held by the Archdiocese here—and thus,

the very same substantial burden exists.

   Here, Section 75.300 presents the Archdiocese with the same choice St. Vincent faces in

Buck: Change its beliefs about marriage or forgo its foster care ministry altogether. As the

NPRM acknowledges, “merely because a regulation is not being enforced does not mean that

it has been repealed or replaced.” Add. 19. Section 75.300 “still appears in the Code of Federal

Regulations,” and thus, it is still the law. It will substantially burden the Archdiocese’s religious

exercise so long as it remains on the books—chilling the Archdiocese from participating in



                                                 26
    Case 3:19-cv-00365 Document 15 Filed on 01/30/20 in TXSD Page 37 of 58



foster or adoption care out of the reality acknowledged in Buck: “government officials can

change their minds, re-interpret laws already on the books, and disrupt established practices.”

Buck, 2019 WL 4686425, at *13; see also id. (“Because the Federal Defendants have refused to

refute . . . that there is a credible threat the federal regulation will be triggered against the State

if St. Vincent’s position prevails,” injunctive relief is necessary) 6; see Add. 10-11 ¶¶ 31-32, 36-

37 (describing chilling effect). For all of these reasons, Section 75.300 substantially burdens

the Archdiocese’s sincere religious beliefs on marriage.

    B. Section 75.300 neither advances a compelling interest nor pursues one through
       the least restrictive means.

    With the Archdiocese’s substantial burden established, HHS now must satisfy RFRA’s

stringent test: a compelling interest achieved through the means least restrictive of the

Archdiocese’s religious exercise. Hobby Lobby, 573 U.S. at 706; see Tucker v. Collier, 906 F.3d

295, 301-02 (5th Cir. 2018) (where substantial burden is shown, “[a] case rises and falls on

whether the [regulation] (1) advances a compelling interest (2) through the least restrictive

means”). This is the same standard courts apply when strict scrutiny is required by the

Constitution. O Centro, 546 U.S. at 419 (“Congress’ express decision to legislate the compelling

interest test indicates that RFRA challenges should be adjudicated in the same way as the test’s

constitutionally mandated applications.”). Accordingly, and as explained above, Section 75.300


6   Because it is common for a regulation’s final form to differ (sometimes dramatically) from
the proposed regulation—and because the agency is under no obligation to even complete the
rulemaking process—challenges to regulations subject to rulemaking are justiciable. See, e.g.,
Cal. State Outdoor Advert. Ass’n, Inc. v. California, No. S-05-0599, 2006 WL 662747, at *4 (E.D.
Cal. Mar. 16, 2006) (rejecting argument that “plaintiffs’ request for injunctive relief is moot
because defendants have initiated APA rulemaking procedures[.]”) (“[D]efendants have not
completed the APA procedure at this point. The court cannot speculate that defendants will
continue through the APA process, . . . .”).

                                                  27
    Case 3:19-cv-00365 Document 15 Filed on 01/30/20 in TXSD Page 38 of 58



cannot survive application of this most demanding form of scrutiny because it does not further

a compelling interest, nor is it the least restrictive alternative available to HHS to accomplish

its alleged interests. Supra Part I.C.

   Accordingly, Section 75.300(c) and (d) cannot survive RFRA.

III. Section 75.300 violates the Administrative Procedure Act.

   Plaintiffs are also entitled to summary judgment “hold[ing] unlawful and set[ting] aside”

Section 75.300. 5 U.S.C. § 706(2). As Plaintiffs alleged in Counts II-V of their complaint,

Section 75.300 is “not in accordance with law,” is “in excess of statutory . . . authority,” and is

“arbitrary[ and] capricious.” Id. § 706(2)(A), (C).

   “Summary judgment is particularly appropriate in cases in which the court is asked to

review or enforce a decision of a federal administrative agency.” 10B Wright & Miller, Federal

Practice and Procedure § 2733 (4th ed.). Because Plaintiffs’ APA claims turn on questions of

law, “there is no genuine dispute as to any material fact.” Fed. R. Civ. P. 56(a).

   A. The Housekeeping Statute does not authorize Section 75.300 (Count III).

   In promulgating Section 75.300, HHS exceeded its statutory authority and acted contrary

to law. HHS’s claimed statutory authority did not allow promulgation of Section 75.300.

   “[A]n agency literally has no power to act . . . unless and until Congress confers power

upon it.” La. Pub. Serv. Comm’n v. FCC, 476 U.S. 355, 374 (1986). “It is axiomatic that an

administrative agency’s power to promulgate legislative regulations is limited to the authority

delegated by Congress.” Bowen v. Georgetown Univ. Hosp., 488 U.S. 204, 208 (1988). Thus, HHS

was required to identify a statute authorizing Section 75.300. See 1 C.F.R. § 21.40 (requiring “a

complete citation of the authority under which the section is issued”).



                                                28
    Case 3:19-cv-00365 Document 15 Filed on 01/30/20 in TXSD Page 39 of 58



    Here, HHS relied on only one statutory grant of authority: 5 U.S.C. § 301. See 81 Fed. Reg.

89,393, 89,395 (Dec. 12, 2016). That provision, known as the Housekeeping Statute, provides:

“The head of an Executive department or military department may prescribe regulations for

the government of his department, the conduct of its employees, the distribution and

performance of its business, and the custody, use, and preservation of its records, papers, and

property.” 5 U.S.C. § 301. 7

    The Housekeeping Statute does not authorize Section 75.300 for two reasons. First, the

statute permits only procedural rules, not substantive rules. Second, a minor provision like the

Housekeeping Statute does not allow federal agencies to write major regulations like Section

75.300.

       1. The Housekeeping Statute does not authorize substantive rules like
          Section 75.300.

    “The antecedents of [the Housekeeping Statute] go back to the beginning of the Republic,

when statutes were enacted to give heads of early Government departments authority to

govern internal departmental affairs.” Chrysler Corp. v. Brown, 441 U.S. 281, 309 (1979). Like

the older versions of the Housekeeping Statute, the modern version is “simply a grant of

authority to the agency to regulate its own affairs.” Id. “It is indeed a ‘housekeeping statute,’

authorizing what the APA terms ‘rules of agency organization[,] procedure[,] or practice’ as

opposed to ‘substantive rules.’” Id. at 310 (quoting 5 U.S.C. § 553).



7 HHS is not entitled to Chevron deference because the Housekeeping Statute “is not a statute
that [HHS] is charged with administering.” Metro. Stevedore Co. v. Rambo, 521 U.S. 121, 137 n.9
(1997). “For generic statutes like the APA, FOIA, and FACA, the broadly sprawling
applicability undermines any basis for deference, and courts must therefore review
interpretative questions de novo.” Collins v. NTSB, 351 F.3d 1246, 1253 (D.C. Cir. 2003).

                                               29
    Case 3:19-cv-00365 Document 15 Filed on 01/30/20 in TXSD Page 40 of 58



   This distinction is crucial. Because the Housekeeping Statute does not authorize

substantive rules, the validity of Section 75.300 turns on whether it is substantive. Courts have

experience distinguishing substantive rules from procedural ones because the APA’s notice-

and-comment requirements apply to the former but not the latter. See 5 U.S.C. § 553(b)(3)(A)

(exempting “rules of agency organization, procedure, or practice”). They have developed a

few different tests for identifying substantive rules. Every test shows that Section 75.300 is

substantive.

   The Supreme Court has “described a substantive rule . . . as one affecting individual rights

and obligations.” Chrysler Corp., 441 U.S. at 302 (internal quotation omitted). By conditioning

grant funding, HHS promulgated a rule in which “the rights of individuals are affected.” Mass.

Fair Share v. Law Enforcement Assistance Admin., 758 F.2d 708, 711-12 (D.C. Cir. 1985) (holding

that the rights of individuals are affected by “procedures for treatment of applications for

grants under the Urban Crime Prevention Program”).

   Courts generally treat rules creating new conditions for eligibility for federal funding as

substantive. See Morton v. Ruiz, 415 U.S. 199, 235-36 (1974); Nat’l Ass’n of Home Health Agencies

v. Schweiker, 690 F.2d 932, 949 (D.C. Cir. 1982) (holding a rule affecting the process home

health agencies used to secure Medicare reimbursement was substantive, not procedural). Such

a rule “change[s] the substantive standards by which the [agency] evaluates applications which

seek a benefit that the agency has the power to provide.” Texas v. United States, 809 F.3d 134,

176-77 (5th Cir. 2015) (internal quotation omitted); see also Texas v. United States, 328 F. Supp.

3d 662, 729 (S.D. Tex. 2018); La Union del Pueblo Entero v. FEMA, 141 F. Supp. 3d 681, 709-

10 (S.D. Tex. 2015).



                                               30
    Case 3:19-cv-00365 Document 15 Filed on 01/30/20 in TXSD Page 41 of 58



   Similarly, the Fifth Circuit often applies “the substantial impact test” to distinguish

substantive and procedural rules. Texas, 809 F.3d at 176. Under that test, Section 75.300 is

substantive because it requires Texas to choose between losing significant federal funding and

changing its foster care policy. See id. (holding that DAPA was substantive because it “force[d]

the state to choose between spending millions of dollars to subsidize driver’s licenses and

amending its statutes”); Texas v. United States, 787 F.3d 733, 766 (5th Cir. 2015) (same).

   Moreover, Section 75.300 is substantive also because it “encodes a substantive value

judgment or puts a stamp of approval or disapproval on a given type of behavior.” Am. Hosp.

Ass’n v. Bowen, 834 F.2d 1037, 1047 (D.C. Cir. 1987); see also Texas, 809 F.3d at 176. Section

75.300 is based on a substantive value judgment about the best way to operate foster care

programs. It also signals disapproval of operating foster care programs in different ways by

prohibiting States from doing so. See 45 C.F.R. § 75.300(c) (establishing “a public policy

requirement” regarding “non-merit factors”).

   Indeed, HHS itself seemed to recognize that Section 75.300 is substantive rather than

procedural. That is presumably why HHS promulgated Section 75.300 through notice-and-

comment rulemaking, which is required for a substantive rule but not a procedural rule. See 5

U.S.C. § 553(b).

   Because Section 75.300 is a substantive rule, HHS could not promulgate it under its

Housekeeping Statute authority. The regulation is unlawful under the APA and “ineffective”

insofar as it purports to render Plaintiffs ineligible for funding. Morton, 415 U.S. at 236.




                                                31
    Case 3:19-cv-00365 Document 15 Filed on 01/30/20 in TXSD Page 42 of 58



          2. The Housekeeping Statute does not authorize HHS to address major
             questions.

   Moreover, the major policy change HHS seeks to implement through Section 75.300 is

not one that Congress authorized through the Housekeeping Statute. Congress “does not, one

might say, hide elephants in mouseholes.” Whitman v. Am. Trucking Ass’ns, 531 U.S. 457, 468

(2001).

   In light of the significant policy debates concerning issues addressed in Section 75.300, it

is particularly implausible to say the Housekeeping Statute authorized HHS to control states’

policies regarding those issues. See Gonzales v. Oregon, 546 U.S. 243, 267 (2006) (“The

importance of the issue of physician-assisted suicide, which has been the subject of an ‘earnest

and profound debate’ across the country, makes the oblique form of the claimed delegation

all the more suspect.”) (citation omitted).

   Section 75.300 implicates major questions that Congress would not—and did not—

delegate to HHS in the Housekeeping Statute. Under the major-questions doctrine, the Court

should not “conclud[e] that Congress . . . intended such an implicit delegation.” FDA v. Brown

& Williamson Tobacco Corp., 529 U.S. 120, 159 (2000); see also Paul v. United States, 140 S. Ct. 342

(2019) (Kavanaugh, J., concurring in the denial of certiorari) (“In order for an executive or

independent agency to exercise regulatory authority over a major policy question of great

economic and political importance, Congress must either: (i) expressly and specifically decide

the major policy question itself and delegate to the agency the authority to regulate and

enforce; or (ii) expressly and specifically delegate to the agency the authority both to decide

the major policy question and to regulate and enforce.”).




                                                32
    Case 3:19-cv-00365 Document 15 Filed on 01/30/20 in TXSD Page 43 of 58



   For these reasons, Section 75.300 is contrary to law and in excess of statutory authority.

See 5 U.S.C. § 706(2)(A), (C).

   B. Section 75.300 violates Title IV-E (Count II).

   Section 75.300 contradicts and undermines the statutes governing Title IV-E funding. 5

U.S.C. § 706(2)(A), (C); see also Lexmark Int’l, Inc. v. Static Control Components, Inc., 572 U.S. 118,

130 (2014) (“[T]he APA’s omnibus judicial-review provision . . . permits suit for violations of

numerous statutes of varying character that do not themselves include causes of action for

judicial review.”).

   First, Section 75.300 purports to deny funding to states statutorily entitled to funding. In

promulgating Section 75.300, the Secretary usurped congressional power by adding to the plan

requirements Congress had made exclusive. Second, even if the Secretary otherwise had power

to add funding conditions, he would not be able to do so here. When Congress has specifically

addressed an issue in statute, the Secretary cannot impose a different rule by regulation.

       1. The Secretary cannot impose additional funding requirements.

   Title IV-E of the Social Security Act, codified at 42 U.S.C. §§ 670-679c, establishes a

conditional funding program: Congress provides funding for state foster care programs that

meet certain statutory conditions. See South Dakota v. Dole, 483 U.S. 203, 207 (1987) (discussing

“the conditional grant of federal funds”).

   To be eligible for funding, a state must submit a plan for approval by the Secretary. See 42

U.S.C. § 671(a). The Secretary evaluates whether State plans satisfy the statutory requirements.

See id. “The Secretary shall approve any plan which complies with” Section 671(a). Id. § 671(b)

(emphasis added). He does not have discretion to deny approval of any State plan that



                                                  33
    Case 3:19-cv-00365 Document 15 Filed on 01/30/20 in TXSD Page 44 of 58



complies with the statutory requirements. Nat’l Ass’n of Home Builders v. Defs. of Wildlife, 551

U.S. 644, 661 (2007) (explaining that a statutory directive that an agency “shall approve” a state

submission upon certain conditions “is mandatory” if the conditions are met and there is no

contrary statute); Luminant Generation Co. v. EPA, 675 F.3d 917, 926 (5th Cir. 2012) (holding

that “shall approve” creates a “statutory imperative leav[ing] the agency no discretion to do

anything other than ensure that a state’s submission meets the [statute’s] requirements”).

   Once a State plan is approved, HHS must make payments to that State. See 42 U.S.C.

§ 674(a) (“For each quarter beginning after September 30, 1980, each State which has a plan

approved under this part shall be entitled to a payment . . . .”). HHS does not have discretion

to deny payments to States with approved plans.

   Thus, the statutory plan requirements are paramount. Congress wants States to participate.

That is why it created the program. But Congress also wants States to operate their foster care

programs in certain ways. That is why it conditioned funding on compliance with the statutory

plan requirements. See NFIB v. Sebelius, 567 U.S. 519, 577 (2012) (Opinion of Roberts, C.J.)

(“Congress may use its spending power to create incentives for States to act in accordance

with federal policies.”).

   These twin congressional desires are necessarily in some tension. If the plan requirements

are too onerous, States may be disinclined to participate. But if the plan requirements are too

lax, States may operate their programs using federal funds in ways Congress dislikes. Thus,

they require a delicate balance—a balance that would be upset if the Secretary imposed his

own requirements on States. Those non-statutory requirements would make the program less

attractive to States without the offsetting benefit that statutory plan requirements provide:



                                               34
    Case 3:19-cv-00365 Document 15 Filed on 01/30/20 in TXSD Page 45 of 58



furthering a congressional desire to see programs operated in a certain way. A non-statutory

requirement would ensure only that States operated their programs in a way favored by the

Secretary, not Congress.

   As a result, it is no surprise Congress prohibited the Secretary from altering the statutory

plan requirements. By limiting the Secretary’s role, Congress ensured the Secretary would not

materially alter the incentives for States to participate in Title IV-E. By disregarding the

statutory limits on his role, the Secretary acted “not in accordance with law” and “in excess of

statutory jurisdiction, authority, or limitations.” 5 U.S.C. § 706(2)(A), (C). “An agency has no

power to ‘tailor’ legislation to bureaucratic policy goals by rewriting unambiguous statutory

terms.” Util. Air Reg. Grp. v. EPA, 573 U.S. 302, 325 (2014). Indeed, “that an agency may not

rewrite clear statutory terms to suit its own sense of how the statute should operate” is a “core

administrative-law principle.” Id. at 328.

       2. The Secretary cannot alter the non-discrimination requirements Congress
          chose.

   Even if the Secretary could impose his own funding requirements on States, he would not

be able to impose Section 75.300. “Agencies exercise discretion only in the interstices created

by statutory silence or ambiguity . . . .” Util. Air Reg. Grp., 573 U.S. at 326. Congress did not

overlook non-discrimination issues. Leaving no interstice or ambiguity, it provided multiple

statutory non-discrimination rules and specified how they would be enforced. But Section

75.300 upends this scheme. It covers different types of discrimination and leads to different

types of enforcement. Section 75.300 is inconsistent with Congress’s decision to provide

different non-discrimination rules.




                                               35
    Case 3:19-cv-00365 Document 15 Filed on 01/30/20 in TXSD Page 46 of 58



    Congress wanted to prohibit certain types of discrimination in Title IV-E programs, so it

added non-discrimination provisions to the list of statutory plan requirements. One provision

prohibits discrimination based on “race, color, or national origin”:

       In order for a State to be eligible for payments under this part, it shall have a
       plan approved by the Secretary which— . . . (18) not later than January 1, 1997,
       provides that neither the State nor any other entity in the State that receives
       funds from the Federal Government and is involved in adoption or foster care
       placements may—(A) deny to any person the opportunity to become an
       adoptive or a foster parent, on the basis of the race, color, or national origin of
       the person, or of the child, involved; or (B) delay or deny the placement of a
       child for adoption or into foster care, on the basis of the race, color, or national
       origin of the adoptive or foster parent, or the child, involved.

42 U.S.C. § 671(a). Another statutory plan requirement prohibits discrimination concerning

out-of-jurisdiction adoptions:

       In order for a State to be eligible for payments under this part, it shall have a
       plan approved by the Secretary which— . . . (23) provides that the State shall
       not—(A) deny or delay the placement of a child for adoption when an approved
       family is available outside of the jurisdiction with responsibility for handling the
       case of the child.

42 U.S.C. § 671(a).

    Neither of these provisions, nor any other non-discrimination statute HHS enforces,

prohibits discrimination on the basis of sexual orientation, gender identity, or same-sex

marriage status. 8

    The scope of Title IV-E’s non-discrimination provisions reflects Congress’s deliberate

choice. This is evident from Congress’s decision to include different non-discrimination

provisions in different parts of the Social Security Act. While Title IV-E focuses on race,


8 HHS Office of Civil Rights, Laws and Regs. Enforced by OCR, https://www.
hhs.gov/civil-rights/for-providers/laws-regulations-guidance/laws/index.html (last visited
Oct. 31, 2019).

                                               36
    Case 3:19-cv-00365 Document 15 Filed on 01/30/20 in TXSD Page 47 of 58



national origin, color, and out-of-jurisdiction status, Title IV-A prohibits different kinds of

discrimination, including on the basis of age and disability. 42 U.S.C. § 608(d); see also 42 U.S.C.

§ 603(a)(5)(I)(iii) (prohibiting gender discrimination in some contexts).

   Congress also created a detailed remedial scheme for addressing how its non-

discrimination provisions should be enforced. See 42 U.S.C. § 674(d). States that violate

statutory non-discrimination provisions may face limited losses of funding and private

lawsuits. See id. §§ 674(d)(1), (3). In one fiscal quarter, a State could lose between 2 percent and

5 percent of its funding, depending on the number of violations in that fiscal year. Id.

§ 674(d)(1)(A)-(C). That is a significant amount of money, and it reflects Congress’s

determination about the appropriate incentives to give States. Cf. Dole, 483 U.S. at 211 (finding

conditional spending legislation not coercive because “all [the State] would lose . . . is 5% of

the funds otherwise obtainable under specified highway grant programs”).

   In passing statutory non-discrimination requirements applicable to Title IV-E funding,

Congress carefully considered and adopted the protections it deemed necessary and

appropriate in this context. Congress did not leave this issue open to regulatory amendment,

nor create a gap for HHS to fill. See Util. Air Reg. Grp., 573 U.S. at 326 (limiting agencies to

“the interstices created by statutory silence or ambiguity”). HHS does not have discretion to

impose additional non-discrimination requirements, like Section 75.300, through regulation

under the Housekeeping Statute. See Schism v. United States, 316 F.3d 1259, 1280 (Fed. Cir.

2002) (“A reasonable lawyer advising the Secretary of Defense or any of the service secretaries

at the time could not have claimed that § 301 created the right to make promises of lifetime




                                                37
    Case 3:19-cv-00365 Document 15 Filed on 01/30/20 in TXSD Page 48 of 58



health care (beyond space available care) because there were other statutes controlling retiree

care at the time.”).

   HHS itself has recognized that Section 75.300 cannot apply where statutory non-

discrimination provisions govern. In explaining its decision not to extend Section 75.300 to

Title IV-A funding, HHS wrote that “[t]he TANF statute, 42 U.S.C. 608(d) [Title IV-A],

already identifies the nondiscrimination provisions that can be applied to TANF.” 81 Fed.

Reg. 45,270, 45,271 (July 13, 2016). Because Title IV-A’s non-discrimination requirement and

Section 75.300 differ in scope, 42 U.S.C. § 608(d), HHS concluded Section 75.300 should not

apply to Title IV-A funding. See 81 Fed. Reg. 45,271; 45 C.F.R. § 75.101(f) (“Section 75.300(c)

does not apply to the Temporary Assistance for Needy Families Program (title IV-A of the

Social Security Act, 42 U.S.C. 601-619).”).

   HHS cannot resist the same logic here. Because Title IV-E, like Title IV-A, “already

identifies the nondiscrimination provision that can be applied,” 81 Fed. Reg. 45,271, Title IV-

E also should be exempt from Section 75.300. The Secretary does not act in accordance with

law when he purports to alter the non-discrimination requirements Congress set by statute.

   C. Section 75.300 is Arbitrary and Capricious (Counts IV-V).

   In promulgating Section 75.300, HHS acted arbitrarily and capriciously. To assess whether

an agency action was arbitrary and capricious, a court “must consider whether the decision

was based on a consideration of the relevant factors and whether there has been a clear error

of judgment”:

       Normally, an agency rule would be arbitrary and capricious if the agency has
       relied on factors which Congress has not intended it to consider, entirely failed
       to consider an important aspect of the problem, offered an explanation for its
       decision that runs counter to the evidence before the agency, or is so implausible


                                              38
    Case 3:19-cv-00365 Document 15 Filed on 01/30/20 in TXSD Page 49 of 58



       that it could not be ascribed to a difference in view or the product of agency
       expertise.

Motor Vehicle Mfrs. Ass’n of U.S., Inc. v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983)

(quotations and citations omitted).

   Arbitrary-and-capricious review does not permit “second-guessing substantive decisions

committed to the discretion of the agency,” but it also “does not turn judicial review into a

rubber stamp.” O’Reilly v. U.S. Army Corps of Eng’rs, 477 F.3d 225, 230 (5th Cir. 2007). A

reviewing court “must make a searching and careful inquiry.” Id. (internal quotation omitted);

see also Citizens to Pres. Overton Park, Inc. v. Volpe, 401 U.S. 402, 416 (1971).

   Here, Section 75.300 is arbitrary and capricious for two reasons. First, HHS’s reasoning

was internally inconsistent. Second, the agency failed to consider important aspects of the

problem, including the best interests of foster children and religious liberty.

       1. HHS’s Reasoning Was Internally Inconsistent (Count IV).

   “Illogic and internal inconsistency are characteristic of arbitrary and unreasonable agency

action.” Chamber of Commerce v. Dep’t of Labor, 885 F.3d 360, 382 (5th Cir. 2018). Here, the scope

of Section 75.300 is “paradoxical” in a way that “signals arbitrary and capricious agency

action.” Sw. Elec. Power Co. v. EPA, 920 F.3d 999, 1016 (5th Cir. 2019).

   As discussed above, HHS declined to extend Section 75.300 to Title IV-A funding because

“[t]he TANF statute, 42 U.S.C. 608(d), already identifies the nondiscrimination provisions that

can be applied to TANF.” 81 Fed. Reg. 45,271. Because Title IV-A’s non-discrimination

requirement and Section 75.300 differ in scope, 42 U.S.C. § 608(d), HHS concluded Section

75.300 should not apply to Title IV-A funding. See 81 Fed. Reg. 45,272; 45 C.F.R. § 75.101(f)




                                                  39
    Case 3:19-cv-00365 Document 15 Filed on 01/30/20 in TXSD Page 50 of 58



(“Section 75.300(c) does not apply to the Temporary Assistance for Needy Families Program

(title IV-A of the Social Security Act, 42 U.S.C. 601-619).”).

    That explanation for not extending Section 75.300 to Title IV-A funding applies equally to

Title IV-E funding. Like Title IV-A, Title IV-E contains express non-discrimination

provisions. And like the Title IV-A provisions, the Title IV-E provisions do not cover religion,

sexual orientation, gender identity, or same-sex marriage status.

    But HHS failed to apply the same logic to Title IV-E funding. It provided no explanation

for treating Title IV-E funding differently from Title IV-A funding. See 81 Fed. Reg. 45,271.

HHS has therefore provided no “ ‘reasoned analysis’ to justify the disparate treatment of

regulated parties that seem similarly situated.” ANR Storage Co. v. FERC, 904 F.3d 1020, 1024

(D.C. Cir. 2018). 9

    That renders Section 75.300 arbitrary and capricious. “A long line of precedent has

established that an agency action is arbitrary when the agency offered insufficient reasons for

treating similar situations differently.” Transactive Corp. v. United States, 91 F.3d 232, 237 (D.C.

Cir. 1996).

       2. HHS failed to account for important interests (Count V).

    Section 75.300 is also arbitrary and capricious for a second reason: HHS failed to account

for important considerations before adopting it. As the Supreme Court has explained, “agency

action is lawful only if it rests ‘on a consideration of the relevant factors.’” Michigan v. EPA,


9 Even if there were some way to explain or justify HHS’s apparent inconsistency, it would be
irrelevant because HHS did not provide any such explanation or justification in the Federal
Register. See SEC v. Chenery Corp., 318 U.S. 80, 87 (1943) (“The grounds upon which an
administrative order must be judged are those upon which the record discloses that its action
was based.”); see also State Farm, 463 U.S. at 43.

                                                40
     Case 3:19-cv-00365 Document 15 Filed on 01/30/20 in TXSD Page 51 of 58



135 S. Ct. 2699, 2706 (2015).

     HHS’s cursory analysis ignored the issue that should be paramount in all foster care

policymaking: the best interests of foster children. HHS itself acknowledges that its foster care

program is designed “to provide safe and stable out-of-home care for children.” 10 At all points

during the foster care process, decisions are supposed to be made based on the child’s welfare.

See, e.g., 42 U.S.C. § 672(a)(2)(A)(ii) (requiring “the removal and foster care placement” to be

“in accordance with . . . a judicial determination to the effect that continuation in the home

from which [the child was] removed would be contrary to the welfare of the child”); 45 C.F.R.

§ 1355.25(a) (“The safety and well-being of children and of all family members is

paramount.”).

     To pass a rule governing foster care without considering whether it will help or harm

children in foster care is the height of irresponsibility. But that is what HHS did. The agency

did not analyze whether Section 75.300 would decrease the quantity or quality of residential

child care providers by driving away non-compliant organizations. See 81 Fed. Reg. 89,393; 81

Fed. Reg. 45,270. Section 75.300 is not the result of “reasoned decisionmaking.” Michigan, 135

S. Ct. at 2706.

     HHS also did not consider the religious-liberty interests of individuals and organizations

who serve foster children. See 81 Fed. Reg. 89,393; 81 Fed. Reg. 45,270. Religious liberty is

vitally important, both under the law and as a policy matter. It is protected by the federal and

Texas Constitutions, U.S. Const. amend. I; Tex. Const. art. I, §§ 3a-6, as well as federal and



10Children’s Bureau, Title IV-E Foster Care (May 17, 2012), https://www.acf.hhs.gov/
cb/resource/title-ive-foster-care (last visited Oct. 31, 2019).

                                               41
     Case 3:19-cv-00365 Document 15 Filed on 01/30/20 in TXSD Page 52 of 58



state statutes, see, e.g., 42 U.S.C. § 2000bb-1(a); Tex. Gov’t Code § 2400.002; Tex. Hum. Res.

Code § 45.004.

     Not surprisingly, courts have recognized the important interplay between religious liberty

and non-discrimination rules. See, e.g., Masterpiece Cakeshop, Ltd. v. Colo. Civil Rights Comm’n, 138

S. Ct. 1719, 1727 (2018) (“At the same time, the religious and philosophical objections to gay

marriage are protected views and in some instances protected forms of expression.”); Hosanna-

Tabor Evangelical Lutheran Church & Sch. v. EEOC, 565 U.S. 171, 196 (2012) (“The interest of

society in the enforcement of employment discrimination statutes is undoubtedly important.

But so too is the interest of religious groups in choosing who will preach their beliefs, teach

their faith, and carry out their mission.”).

     Religious liberty should be particularly important to HHS. It is charged with enforcing

statutory protections for religious liberty. 11 Cf. Masterpiece Cakeshop, 138 S. Ct. at 1729 (noting

that anti-religious sentiment is inappropriate for a government official charged with enforcing

“a law that protects against discrimination on the basis of religion”). And RFRA applies to “all

federal law, and the implementation of that law” unless an underlying statute “explicitly

excludes such application.” 42 U.S.C. § 2000bb-3(a)-(b); see Paulsen, 56 Mont. L. Rev. at 253-

54 (explaining that RFRA modifies all federal statutes to require religious accommodations).

     In this context, HHS’s failure to even consider religious liberty as a factor means it did not

engage in “reasoned decisionmaking.” Michigan, 135 S. Ct. at 2706.

     An agency cannot make rational policy choices regarding Section 75.300 without


11HHS Office of Civil Rights, Laws and Regulations Enforced by OCR, https://www.
hhs.gov/civil-rights/for-providers/laws-regulations-guidance/laws/index.html (last visited
Oct. 31, 2019).

                                                 42
    Case 3:19-cv-00365 Document 15 Filed on 01/30/20 in TXSD Page 53 of 58



considering the best interests of foster children and the religious liberty of the organizations

that serve them. But HHS ignored these important interests. Having ignored the most relevant

interests weighing against Section 75.300, HHS professed a belief that its approach would be

“non-controversial.” 81 Fed. Reg. 45,271. That reflects a lack of serious consideration by the

agency. Absent such consideration, Section 75.300 is necessarily arbitrary and capricious.

   Plaintiffs respectfully request summary judgment vacating Section 75.300.

IV. Injunctive relief is appropriate.

   “Success on the merits will often be the determinative factor” where parties seek an

injunction deriving from “First Amendment free-exercise rights” even where “the claim is

statutory” under RFRA. Korte v. Sebelius, 735 F.3d 654, 666 (7th Cir. 2013). However, Plaintiffs

have also met their burden to satisfy the other factors required for injunctive relief.

   Irreparable harm. It is settled law that a violation of Plaintiffs’ rights under the First

Amendment and RFRA constitutes irreparable harm. “‘The loss of First Amendment

freedoms, for even minimal periods of time, unquestionably constitutes irreparable injury.’”

Opulent Life Church v. City of Holly Springs, 697 F.3d 279, 295 (5th Cir. 2012) (quoting Elrod v.

Burns, 427 U.S. 347, 373 (1976)). That same principle applies to the loss of RFRA rights. See

id. (citing Kikumura v. Hurley, 242 F.3d 950, 963 (10th Cir. 2001)); DeOtte v. Azar, 393 F. Supp.

3d 490, 511-12 (N.D. Tex. 2019). Here, coercing the Archdiocese and similarly situated

religious parties into assisting the foster care crisis in a manner that violates their faith poses

irreparable injury.

   Balance of Harms. The harms faced by Plaintiffs are severe, including loss of funding, liability

for lawsuits, and coercion of religious practice. Meanwhile, where the government has



                                                43
    Case 3:19-cv-00365 Document 15 Filed on 01/30/20 in TXSD Page 54 of 58



“alternative, constitutional ways of regulating . . . to achieve its goals,” as it does here—to say

nothing of the way the challenged regulations undermine its goals—the government cannot

show that its interests outweigh constitutional freedoms. See RTM Media, L.L.C. v. City of

Houston, 518 F. Supp. 2d 866, 875 (S.D. Tex. 2007).

   Public Interest. Finally, “[i]njunctions protecting First Amendment freedoms are always in

the public interest.” Opulent Life Church, 697 F.3d at 298 (internal quotation marks omitted).

The same is true of injunctions enforcing RFRA. See DeOtte, 393 F. Supp. 3d at 512 (citing

Opulent Life Church, 697 F.3d at 298).

   Injunctive relief is also warranted on Plaintiffs’ APA claims. Plaintiffs—and more

importantly, Texas children—face irreparable harm from the exclusion of faith-based

providers like the Archdiocese from Texas’s foster care system. Both the balance of harms

and the public interest favor injunctive relief against enforcement of the regulation and its

substantive requirements for the reasons explained above. Further, Defendants themselves

have shown those factors favor injunctive relief by granting the South Carolina exemption

rather than insisting on across-the-board enforcement.


                                         CONCLUSION

   The Court should declare Section 75.300 unlawful, set it aside, and permanently enjoin its

enforcement against Plaintiffs.




                                                44
Case 3:19-cv-00365 Document 15 Filed on 01/30/20 in TXSD Page 55 of 58



  Respectfully submitted this 30th day of January, 2020.

                                          KEN PAXTON
                                          Attorney General of Texas
                                          JEFFREY C. MATEER
                                          First Assistant Attorney General
                                          RYAN L. BANGERT
                                          Deputy Attorney General for Legal Counsel
                                          DAVID J. HACKER
                                          Special Counsel to the First Assistant
                                          PATRICK K. SWEETEN
                                          Associate Deputy Attorney General for
                                          Special Litigation
                                          /s/ William T. Thompson
                                          WILLIAM T. THOMPSON
                                          Special Counsel for Civil Litigation
                                          Attorney-in-Charge
                                          Texas Bar No. 24088531
                                          Southern District of Texas Bar No. 3053077
                                          Special Litigation Division
                                          P.O. Box 12548
                                          Austin, Texas 78711-2548
                                          Phone: (512) 936-2567
                                          Fax: (512) 936-0545
                                          Will.Thompson@oag.texas.gov

                                          BENJAMIN S. WALTON
                                          Texas Bar No. 24075241
                                          Assistant Attorney General
                                          General Litigation Division
                                          P.O. Box 12548
                                          Austin, Texas 78711
                                          Phone: (512) 463-2120
                                          Fax: (512) 320-0667
                                          Benjamin.Walton@oag.texas.gov

                                          Attorneys for Plaintiffs State of Texas and Texas
                                          Department of Family and Protective Services




                                        45
Case 3:19-cv-00365 Document 15 Filed on 01/30/20 in TXSD Page 56 of 58




                                    /s/ Eric C. Rassbach
                                   Eric C. Rassbach
                                   Attorney-in-charge
                                   Texas Bar No. 24013375
                                   S.D. Texas Bar No. 87245
                                   Nicholas Reaves
                                   S.D. Texas Bar No. 3498680
                                   THE BECKET FUND FOR
                                   RELIGIOUS LIBERTY
                                   1200 New Hampshire Ave. NW
                                   Suite 700
                                   Washington, D.C. 20036
                                   Phone: (202) 955-0095
                                   Fax: (202) 955-0090
                                   erassbach@becketlaw.org

                                   Attorneys for Plaintiff Archdiocese of
                                   Galveston-Houston




                                 46
    Case 3:19-cv-00365 Document 15 Filed on 01/30/20 in TXSD Page 57 of 58



                          CERTIFICATE OF CONFERENCE

   I hereby certify that plaintiffs conferred with Defendants regarding their request for relief

via email on December 18, 2019, and Defendants opposed the filing of Plaintiffs’ motion for

partial summary judgment before Defendants had the opportunity to respond to Plaintiffs’

Complaint. The Court then granted Plaintiffs’ request to file this motion. See ECF No. 12.


                                                   /s/ William T. Thompson
                                                   WILLIAM T. THOMPSON




                                              47
    Case 3:19-cv-00365 Document 15 Filed on 01/30/20 in TXSD Page 58 of 58



                             CERTIFICATE OF SERVICE

   I hereby certify that on January 30, 2020, the foregoing document was served on all counsel

of record via the Court’s ECM/CF system.


                                                   /s/ William T. Thompson
                                                   WILLIAM T. THOMPSON




                                             48
